






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00716-CR


NO. 03-03-00717-CR


NO. 03-03-00718-CR






Norman Watson, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 403RD JUDICIAL DISTRICT


NOS. 3013694, 3013749 &amp; 3020811, HONORABLE BRENDA KENNEDY, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Norman Watson seeks to appeal from judgments of conviction for theft.  The trial
court has certified that these are plea bargain cases and Watson has no right of appeal.  See Tex. R.
App. P. 25.2(a)(2).  The appeals are dismissed.  See id. rule 25.2(d).



				__________________________________________

				Jan P. Patterson, Justice

Before Chief Justice Law, Justices B. A. Smith and Patterson

Dismissed for Want of Jurisdiction

Filed:   January 8, 2004

Do Not Publish


